      Case: 1:21-cv-00166-GHD-DAS Doc #: 18 Filed: 07/11/22 1 of 3 PageID #: 80




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               ABERDEEN DIVISION


CLOVIS DANIEL MORTON                                                              PLAINTIFF

VS.                                            CIVIL ACTION NO.: 1:21-cv-00166-GHD-DAS

WAL-MART STORES, INC., ET AL.                                                 DEFENDANTS



                                JOINT MOTION TO DISMISS


       COME NOW, the Plaintiff and Defendant WAL-MART STORES, INC. by and through

counsel and file this Joint and Unopposed Motion to Dismiss, and as grounds would set forth the

following:


   1. The parties have reached an amicable resolution, have conferred, and agree that this Cause

       should be dismissed with prejudice. This Motion is unopposed and is filed as a joint

       motion.

   2. A proposed agreed order will be submitted to the Court.

       WHEREFORE, PREMISES CONSIDERED, the parties respectfully request this

Court enter an order dismissing this matter in its entirety with prejudice.

       Respectfully submitted this the 11th day of July, 2022.
    Case: 1:21-cv-00166-GHD-DAS Doc #: 18 Filed: 07/11/22 2 of 3 PageID #: 81




/s/ Jennifer M. Studebaker_________________
JENNIFER M. STUDEBAKER (MSB #10433)
VERNON M. MCFARLAND (MSB #103665)
SIMINE BAZYARI REED (MSB #101259)
FORMAN WATKINS & KRUTZ LLP
210 East Capitol Street, Suite 2200
Jackson, Mississippi 39201
Telephone: (601) 960-8600
Facsimile: (601) 960-8613
Jennifer.Studebaker@formanwatkins.com
Vernon.Mcfarland@formanwatkins.com
Simine.Reed@formanwatkins.com

ATTORNEYS FOR WALMART STORES,
INC.

Agreed to and Approved by:

/s/ Gregory D. Keenum__________
Gregory D. Keenum
GREGORY D. KEENUM, P.A.
219 West College Street
Boonville, MS 38829

ATTORNEY FOR PLAINTIFF
     Case: 1:21-cv-00166-GHD-DAS Doc #: 18 Filed: 07/11/22 3 of 3 PageID #: 82




                               CERTIFICATE OF SERVICE

       I, the undersigned attorney, on behalf of Defendant WALMART STORES, INC. do

hereby certify that I caused the attached document to be filed via the Court’s ECF filing

system, and service of same will be made to all counsel of record via the Court’s ECF filing

system.

       THIS, the 11th day of July, 2022.

                                             /s/ Jennifer M. Studebaker
                                            JENNIFER M. STUDEBAKER
